Case 2:05-Cr-20264-BBD Document 7 Filed 07/21/05 Page 1 of 3 Page|D 5

UNITED sTATEs DIsTRICT coURT mm """ i- |'~i-d‘» ---~ D-C'
wEsTERN DIsTchT or TENNESSEE

 

 

Western Division 05 '-"~H- 21 AH B: la
UNITED STATES OF AMERICA
-v- Case No. 2:05cr20264-D
TAMMIE MCCANN
ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Oftice, Probation Office, defense counsel
and the U.S. Attomey in writing of any change in address and telephone nurnber.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the Um'ted States Courthouse and
Federal Building in Courtroom Courtroorn # 5 on Wednesday July 27, 2005 @ 9:30am

ADD|T|ONAL COND|TIONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions

0 report as directed by the Pretrial Services Office.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

Thls document entered on th
e docket t
with Fiule 55 and/or aa(bl FRCrP on § l M’/

AO 199A Order Setting Conditions of Re|ease

Case 2:05-Cr-20264-BBD Document 7 Filed 07/21/05 Page 2 of 3 Page|D 6

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. "Iliis sentence shall be in addition to any other sentence.

F ederal law makes it a crime punishable by up to ten years of irnprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or inforrnant; to retaliate or attempt to retaliate against a witness, victim or
inforrnant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the

service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(1) an offense punishable by death, life irnprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I arn the defendant in this case and that I arn aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above.
digit/iranian pin n..
j Shh "l"f)

iatureo e t

Tammie McCann
273 E. Shelby Drive
Memphis, TN 38109
(901) 785-5850

DlRECTlONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing.

El The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Dai¢; ru1y 20, 2005 VO/M/\w /k~ %Wf

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

AO 199A Order Setting Conditions of Re|ease -2-

 

Notice of Distribution

This notice confirms a copy of thc document docketed as number 7 in
case 2:05-CR-20264 Was distributed by faX, mail, or direct printing on
July 22, 2005 to thc parties listedl

ENNESSEE

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Stc. 200

l\/lemphis7 TN 38103

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Stc. 200

l\/lemphis7 TN 38103

Stephcn C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Stc. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

